Case 1:21-cv-20975-BB Document 112 Entered on FLSD Docket 04/11/2022 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                (Miami Division)

                              Case No. 1:21-cv-20975-BB

   MBI SERVICES, LLC,

          Plaintiff,
   vs.

   APEX DISTRIBUTION LLC, et al.,

          Defendants.


              JOINT MOTION TO EXTEND PRE-TRIAL DEADLINES

         Pursuant to Federal Rule of Civil Procedure 7(b) and Local Rule 7.1, plaintiff,

  MBI Services, LLC, and defendants, Apex Distribution, LLC, Hector Alvarez,

  Gregory A. Jones, Imitari Corporation, and Terry Barnes (“Apex Defendants”),

  jointly move for a two-day/48-hour extension of time through Wednesday, April 13,

  2022, to file the pre-trial stipulation and related documents listed in the Order

  Scheduling Trial and Order of Instructions Before Calendar Call (“Trial Order”)

  [ECF No. 108]. The grounds for this motion are as follows.

         1.     The Court entered its Trial Order on February 18, 2022, requiring

  various pre-trial filings, including deposition filings and designations, neutral

  statement of case, list of witnesses for venire panel, witness and exhibit lists, voir

  dire questions, jury instructions and verdict form, etc.
Case 1:21-cv-20975-BB Document 112 Entered on FLSD Docket 04/11/2022 Page 2 of 4




        2.     Plaintiff requested an extension to file its deposition transcripts and

  designations [ECF No. 109], and the Court granted Plaintiff an extension through

  April 13, 2022 [ECF No. 110]. This motion does not seek to change that deadline.

        3.     Due to the heavy case load of counsel for both parties, the undersigned

  counsel requests additional time to finalize and file the required pre-trial documents,

  jury instructions and verdict forms.

        4.     This request for additional time is not made for purposes of delay and

  will not disrupt the Court’s proceedings, nor will the parties be prejudiced by the

  extension of time sought in this motion.

        WHEREFORE, plaintiff, MBI Services, LLC, and defendants Apex

  Distribution, LLC, Hector Alvarez, Gregory A. Jones, Imitari Corporation, and

  Terry Barnes respectfully ask the Court to extend by 2 days/48-hours the deadline

  for them to finalize and file the required documents and such further relief that may

  be appropriate.

                    Certificate of Compliance with Local Rule 7.1(a)(3)

        Undersigned counsel certifies that he has conferred with all parties who may

  be affected by the relief sought in the motion in a good faith effort to resolve the

  issues raised in the motion. Counsel for the Sadick Defendants does not oppose the

  relief sought in this motion.




                                             2
Case 1:21-cv-20975-BB Document 112 Entered on FLSD Docket 04/11/2022 Page 3 of 4




                         Respectfully submitted,

  AYALA LAW, P.A.                           WEISSMAN & DERVISHI, P.A.

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                                        3
Case 1:21-cv-20975-BB Document 112 Entered on FLSD Docket 04/11/2022 Page 4 of 4




                         CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 11, 2022, a true and correct copy of the

  foregoing was served by CM/ECF on the attorneys listed below.

                                             /s/ Brian S. Dervishi
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                                         4
